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                         Exhibit 10
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                     POST MARKETING RESEARCH PROJECT MANAGEMENT AGREEMENT

            This POST MARKETING RESEARCH (PMR) PROJECT MANAGEMENT AGREEMENT (the
            "Agreement") is made and entered into as of Febryuary 1 I, 20 I 4 (the "Effective Date") by and between
            the ERA.,A NDA Holder Par1icipants (each entity individually, a "Participant" and together, the "Client")
            and Campbell Alliance, Ltd. ("Campbell").

            1. Definitions.

                        a.    "Program" or "PMR Program" shall be defined as the planning, design, or conduct of
                              post marketing studies to address FDA requirements  ·

                        b. "Participant" shall be defined as an entity that is an ER/LA NDA holder with post
                           marketing requirements (PMR)..

            2. Engagement. Campbell is engaged by Client to serve as the Project Management Office, or
                "PMO", to provide PMR project management services (the "Services"), as described in one or more
                statements of work ("SOWs") executed by the parties pursuant to this Agreement. Each SOW shall
                be provided in substantially the form as the SOW attached hereto      ai Attac),ment A. The sp(!cific
                terrns and conditions associated with each engagement will be delin4ated in the applicable SOW,
                which shall be sequentially numbered (e.g. SOW 1,-2, etc... ) and incorporate~ herein by reference.
                Campbell agrees and acknowledges, without the Client's approval, that neither it nor any related or
                affiliated entity shall provide any additional third party vendor services to Participants under this
                Agreement in connection with the Program while this Agreement re~ains in full for~e aqd effect.
                Except as otherwlse provided herein, the Subcommittee ! Representative for ~ach
                subcommittee (observational and clinical) will be the sole point of contact responsible for
                interactions with Campbell as described below. Within ten (10) !days .of the Effectiv~ Date,
                each Subcommittee shall constitute and appoint and provide wdtteri notice of th~ s~me to
                Campbell, one Participant as the sole, exclusive, true and lawful 'a gent :and representative of
                all Participants (the "Subcommittee Representative") with respbct 1:Q any and all matters
                relating to, arising out of, or in connection with, this AgreemenL The Sub_cqmmittee may
                replace the Subcommittee Representative, effective upon five '.(S) days written notic_e to
                Campbell.        Except as otherwise expressly set forth her~in, ·au actions, notice~,
               communications and determinations by Client and the Sub~ommitt~e relating to this
               Agreement shall be given or made by a Subcommittee Rep~esentative, and Campbel) shall be
               entitled to rely on any such action, notice, communication or det~rmination. I~ is agreed that
               additional Participants may become parties to this Agreement from tim:e to time, contingent on prior
               approval of the Participants and execution of a New Participant Confirmation in the form attached
               hereto as Exhibit A, by each additional Participant. If a Participant cehses to be a party by notice of
               Termination., its obligations under this Agreement shall continue until such ·time as its obligations
               have been fulfilled. When the Client confirms to Campbell in writing thata Panicipant is no longer a
               mernber and that its obligations under this Agreement have been fulfilled, such Participant shall cease
               to be a party to this Agreement. The addition or departure of Participar ts to this Agreement will not
               increase or decrease the total compensation due to Campbell hereundyr, In the ev~nt of a conflict
               between the provisions of this Agreement and the provisions of the Statement of Work, the provisions
               of this Agreement shall prevail.

               Each Participant shall reasonably cooperate with Campbell in connection with its performance of the
               Services. Such cooperation shall include, without limitation, providing to Campbell all inforrnation
               reasonably requested by it. Campbell shall not be responsible or liable for errors, delays, or other
               consequences caused by the failure of a Participant to provide any such required information or
               cooperative effor1s. Without limiting the generality of the foregoing, 1n the event any action under




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                this Agreement requires Client's approval and such approval is.not received in a reasonably timely
                manner, Campbell shall not be deemed in breach of its obligations hereunder.

            3. Tenn. Suspension and Termination.

                 3.1. The term of this Agreement will begin on the Effective Date of tl1e first Statement of Work and
                      continue for a period of three (3) calendar years, or as otherwise agreed upon in writing by
                      Campbell and the Client (the "Initial Agreement Term"), unless 'extended or terminated earlier
                      in accordance with the terms of this Agreement.

                 3.2. Campbell may terminate this Agreement in the event of a material breach _by Client which
                      breach remains uncured for a period of thirty (30) days after receipt of written notice
                      specifying the details of the breach. Notwithstanding the foregoing, failure of a Participant io
                      make any payment under this Agreement when due shall constitut~ a material breach by the
                      Pai1icipant of this Agreement and Campbell may tcrrninat~ such Participant from this
                      Agreement if such breach remains uncured for a period of sixty (60) day~ after Part.iciparit's
                      receipt of written notice specifying the details of such breach. Upon .the termination ·of a
                      Participant, (i) such Participant's rights under this Agreement.1shidl .terminate a11d (ii) such
                      Participant shall no longer be entitled to any of the benefits of this Agreement. Client may
                      terminate this Agreement in the event of a material breach by C~mpbell ,which breach remains
                      uncured for a period of thirty (30) days after receipt of written riotice speclfying the details of
                                                                                         1
                      the breach.                                                 :·         •        •



                 33. In the event of any termination or suspension by Client, Campbbll ~hall provide Client with ·a
                     wind-down plan as soon as possible. Campbell shall continue to: be CQmpe_nsated the 'fe~ then
                     in effect as set forth in Section 6; provided, however, that in the event that the nature of the
                     wind-down services materially differs from the Services co'nt~mplated .by ·the Statement of
                     Work, the parties agree to discuss alternative comperisatio~'. Upon receipt 9f notice of
                     termination or suspension, Campbell shall immediately cease iri'9urrin~ any additionat costs in
                     connection with this Agreement or Statement of Work, and Client's sole obligation to
                     Campbell shall be limited ·to payment for Servkes provided fo the date of 'tenriinati~n or
                     suspension and payment of those costs and expenses ·'already incurred QT committed by
                     Campbell up to the date of suspension or termination, which are;not #ancelahlfl or rec<:>verable
                     by the terms of the applicable agreements. Any costs or expenses not actually i:e~ove1ed by
                     Campbell will be reimbursed by Client or a Participant, as appli~f ble.

           4. Transition Services.                                                       I
                                        Upon any termination or expiration of the Agreement, Campbell shall
           provide services reasonably requested by Client to transition the performahce of the .Services under the
           Agreement back to Client or to a third party (the "Transition Services"). Campbell shall, at 'Client's
           request, continue to provide the Services for a period not to exceed six (6) months from the termination or
           expiration of the Agreement (the "Transition Period") for the fees the.n in ~ffect upon the termination or
           expiration date; provided, however, that in the event that the nature of the Transition Services materially
           differs from the Services contemplated by the Statement of Work, the parties agree to discuss alternative
           compensation. Campbell shall cooperate with and assist Client or Client's designee jn providing the
           Transition Services. The Transition Services shall include: 1) preparation of a transition project plan by
           Campbell; 2) access to Campbell personnel for knowledge transfer; and 3) existing document11tion/data
           and the schedules of tllsks and due dllles and stc1tuses, provided to Clien( in comma deliminated files.
           Client shall pay Campbell for all Transition Services in accordance wit~ the provisions of Section 7
           below. During the Transition Period, all applicable terms and conditions ~f the Agreement shall remain
           in full force and effect.




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            5. Compensation.

                  5.1. Campbell's fees for Services shall be as described in Section 6 b~low. Each Participant will be
                       responsible for an equal percentage of fees and expenses. Each Participant shall provide
                       Campbell with a purchase order number within ten days of exe¢ution of a Statement of Work
                       in an amount sufficient to support payment of all Campbell intoices hereunder as and when
                       due. Failure of one Participant to pay its share will not constit~te a breach of this Agreement
                       by the remaining Participants.                                    '
                                                                                           I
                 5.2. Unless otherwise stated in a SOW, Client will provide Campbeli1 with a sec_ur.ity deposit equal
                       to three (3) months of the total budget over the following twelve (12) months plus, to the
                      extent not previously invoiced, any months for which serv·ces ~ave been provided by
                      Campbell and/or Vendors to the date of calculation of the ipitial annual -security deposit
                      ("Annual Security Deposit"), divided equally among the Paiticipants. Campbell shall
                       recalculate the Annual Security Deposit and reallocate the amouht of each Participant Security
                      Deposit on an annual basis in accordance with the preceding sen,tence, The percentage of fees
                      and expenses and the amount of each Participant Security Deposit shall be immediately
                      prospectiveiy reallocated among the remaining Participants by Campbell upon the addition or
                      termination of a Participant, or upon Campbell's termi['!ation Jr a P11rticip(\nt in ac¢ordance
                      with Section 3.3. Campbell may draw on a Participant SeC:uritylDeposit in the event that such
                      Participant does not pay Campbell within the required timefraines as provided in Section 7
                      below, or is insolvent and unable to meet its payment obligations. In the event of any such
                      nonpayment by a Participant, the Participant must immediately pay all outstanding amounts
                      owed to Campbell and replenish its Participant Security Deposit if funds wer_e 'Yithdrawn by
                      Campbell. In the event of any nonpayment by a Participant, Ca1J1pbell ,$)1all not µav~ the dght
                      to terminate this Agreement or to withhold the provision of S~rvices except to .a ·Participant
                      who has been terminated from this Agreement by Campbell pursuant to ·section 3.3 above.
                      Campbell shall notify Client of any nonpayment by a ParticipaJt, inch.1ding any amounts that
                      Campbell withdrew from the relevant Participant Security D~posit. In .the event of any
                      nonpayment by a Participa?ti the remaining Participant~ s?~ll luse_c_~mmercially_ reaspnaj)le
                      efforts to enforce the prov1s1ons that apply when a P~rt1c1pant fails to meet '1ts payment
                      obligations. Each SOW will affirm if the provisions of this Se I tion 5.2 is applicable
                                                                                                       .
                                                                                                              to such
                      sow.                                                             !
                                                                                       l
           6. Fees and Expenses.      Campbell's fees will be billed as a flied fee and will dt;linieate~ in the
           applicable Statemet of Work.                                    ·      I :
                                                                                       I
           In addition to the Fixed Fees, Client shall reimburse Campbell for adminis(iatiye cost~, and approved and
           reasonable travel, lodging and other out-of-pocket project-related expenses! Unless otherwise stated in a
           SOW, expenses are estimated to be approximately 10% of Fixed Fees. Ca1~pb_eH will charge only for the
           actual expense amount on a "pass-through" basis. Campbell will obtain ppproval from Client prior to
           incurring any expenses associated with the performance of Services hereunder to the extent such expenses
           are not contemplated within the terms of the SOW. Campbell will provide teceipts and any other back-up
           documentation in accordance with applicable IRS regulations and as thay otherwise be reasonably
           requested by Client ("Expense Documentation") for any expenses_for V'hich it seeks reimbursement
           hereunder and Campbell acknowledges and agrees Client will have no1 obligation to reimburse for
           expenses for which no Expense Documentation is provided. Further, 1n addition to project-related
           expenses, service provider or vendor fees will be billed as expenses on a "pass-through" basis. The
           estimate of the fees for service providers or vendors will be determined following the vendor selection
           process. All expenses will be reimbursed monthly in arrears.         ·     !

           Campbell will bill each Participant for its applicable share in fees up,on ex) cution of this Agreement and
           will thereafter bill each such Participant for its applicable share offees on t~e first day of the month.
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            Campbell shall accurately document spend per retained health careprofessional and timely provide such
            spend to Client in an approved format that Client will provide to Campbell by Client prior to retention of
                                                                                        1
            the health care professionals so that Client is able to report the information as required by state and
            federal transparency laws. Campbell will liaise with a designated compliance representative of Client to
            ensure all compliance requirements are fulfilled in a manner acceptable to each Participant.

            7. Payment Terms.
                                                                                         I
                  7.1. Each Participant will pay its applicable share of Campbell's fees for Services and will
                       reimburse Campbell for its applicable share of authorized expenses (other than reasqnably
                       disputed amounts) by ACH credit within forty-five (45) days of.receipt by each Participant of
                       a correct invoice from Campbell, provided, hqwever that, if appllciible, eacli Pariicipant
                       agrees to use its best efforts to pay to Campbell such Participant's initial Participant Security
                       Deposit and applicable share the initial Fixed Fee Amount j by A~H cr_epit as sopn as
                       practicable upon receipt of invoices therefor. Invoices will be issued to each Participant .in
                       accordance with the allocation of costs determined by 9 arnpqell as described in Section 5
                       above. Each invoice will include a description of the deliverables and amounts due. Jnvoices
                       for allowable expenses incurred by Campbell will be itemiz~. All invoices submitted ~Y
                       Campbell will state amounts due in U.S. dollars and all payments m·ade by .each Participant
                       will be in U.S. dollars and will be delivered electronically to the1 bank account as prov_ided by
                       Campbell, or to such other address as Campbell may subsequen tly des_ignate by notice. "If any
                       Participant fails to pay for Services rendered and collection efforts become necessary pursµant
                       to Section 5 above, in addition to any other remedy available fo Caillpbell, such P~rticipant
                       shall be responsible for all collection costs incurred by Ca111pbelL
                                                                                         I


            8. Confidentiality.
                                                                                        II
                                                                                         '
                 8.1. During the term of this Agreement, Campbell and Participants ~ ay each r~c~ive, learn or have
                      access to confidential information of Campbell or one or more Participants, or third_pa~~es to
                      whom Campbell or one or more Participants has an obligation qf confidentiality1 incll!ding but
                      not limited to a Participant's products or business plans. Each party m~y al~o recei~e, \earn or
                      have access to additional confidential information of Campbell or one or mpre ·Participants that
                      is generated during the course of or as a result of performance of Services bereunder, All such
                      information will be deemed "Confidential Information". Such confidential l_nformation will
                      not be subject to obligations of non-disclosure and non-use ifit: 11

                           8.1.1. was already known to the receiving party at the tim~Iof disclosure by or on behalf
                                  of the disclosing party as shown by prior written records; or
                                                                                         I
                                                                                         I

                           8.1.2.     is already available or becomes available in print or other tangible form, to the
                                      public through no fault of the receiving party; or i

                           8.1.3. was received by the receiving party from a third party who has the right to
                                  disclose it and who did not receive it, directly or il directly, from or on behalf of
                                  the disclosing party; or                                    .

                           8. I .4.   is independently developed by the receiving party without use of or reference to
                                      the disclosing party's Confidential Information.

                 8.2. For a period of ten (10) years from the date of disclosure, Campbell and each Participant will
                      keep all Confidential Information in confidence, and will not disclose it to anyone (including
                      through lecture, presentation, manuscript, abstract, poster or any other publication) except as

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                       otherwise expressly provided in this Agreement or unless Juthorized in writing by the
                       disclosing party.

                  8.3. Further, each party will use the other party's Confidential Information solely for the purpose of
                       performing its obligations under this Agreement.                   I
                                                                                          i
                  8.4. Campbell and each Participant agree to not make copies of another party's Confidential
                       Information, aside from those copies required for pe~forming its obligatio,ns under this
                       Agreement. At any time upon a party's demand or upon tetmination of this Agreement,
                       parties receiving the Confidential Information of other parties ~ill return to such disclosing
                       parties all such Confidential Information, including any copies; provided, however, that the
                       receiving party may retain one copy for archival purposes.        •I

                  8.5. In the event that any Confidential Information is required to·be disclosed pursuant_to any
                       judicial or government request, requirement or order, the party required to make ,such
                       disclosure shall take reasonable steps to provide the other party jWith sufficient prior notice in
                       order to allow such party to contest such request, requiremen! or order. In such event, the
                       party required to make disclosure shall cooperate reasonably \1/i!h such other party, flt such
                       other party's cost and expense, in seeking confidential trefltment of -such requested or
                       compelled disclosure. Thereafter, the party required to .make '. pisclosure shall only disclose
                       Confidential Information to the extent required in order to, comply with such request,
                       requirement or order.                                             I .
                  8.6. Each party will receive and transmit Confidential Information ini secure manner and store iri a
                       secure manner and not on servers accessible to an entity or person not bound by confi~enti11lity
                       under this Agreement.                                             :I    ·
                  8.7. Campbell will comply with all applicable federal, state, an~ local laws and ,regulations
                       applicable to Campbell hereunder. Each Participant will comply :,Yith flll appljcabl~ federal,
                       state, and local laws and regulations applicable to it hereunder. :1                          ·
               The obligations and restrictions set forth in this Section will survive the terminati!)n or expiration of
               this Agreement.                                                          :1          ·
            9. Protection of Personal Information.     Campbell acknowledges tha~ in .co11nection with .this
               Agreement, Client will not provide to Campbell or require Campbe I to proc~ss, receive, use or
               disclose protected health information ("PHI"), as defined by the He~lth Insurance Portability and
               Accountability Act of 1996 ("HIPAA"). In the event that Campbell inadvertently receives PHI,
               Campbell agrees to maintain such PHI in strict confidence and not to urther use !Jr further disclose
               the PHI to any third party.

            I0. Rights, Ownership and License.

                  I 0. 1. Notwithstanding Section 10.2, as between each Participant and Campbell, Campbell shall
                         retain all intellectual property rights in the following items ind~pendently or as they may be
                         incorporated in the deliverables (the "Campbell Property"):       .;

                            10. 1. I. Any content, applications, formula, data, know-how, techniques, tools, templates,
                                    models, graphics, images, or other materials, whether in print, online, or other
                                   electronic format (collectively, the "Materials"), provided .to Client by Campbell as
                                    part of the Services, whether created/provided by Ca~ pbell or Vendors (defined in
                                   Section 18), but in the case of vendor-created/pro~ided materials, to the extent
                                    provided in any Third Party Agreement (as defined, below). Campbell Property
                                    may not be copied, reproduced, licensed, or sold by qient.
                                                                                                                       5




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                             I 0.1.2. All Materials which are conceived, produced, used or updated in the course of
                                    providing Services, whether by Campbell or Vendors, to the extent such Materials:
                                    a) were not created exclusively for Client by Camp~ell in performing the Services;
                                    b) do not contain a Participant's Confidential Information; c) are not uniquely
                                    applicable to Client; and/or d) have general applicability to Campbell's business
                                    practices.


                         Except as otherwise expressly set forth in the Statement of Work, Campbell hereby grants
                         each Participant a perpetual, royalty-free, nontransferable, non~xclusive license to access and
                         use the Campbell Property as embodied in the deliverable~ and solely for use of such
                         Campbell Property as incorporated into the deliverables. ftl the event a Participant is
                         terminated under this Agreement, its rights under the foregoing license shall terminate.

                  10.2. Except to the extent set forth in Section I 0.1 above, upon payment in full for Services
                       performed to date, Client shall own all intellectual property rights in all deliverables which
                       arise from or are created as a result of the Services ("Client Property"), whether created by
                       Campbell or by Vendors. Any and all such Client Property which constitutes copyrightable
                       material created by Campbell as part of the deliverables shall b~ considered "Works Made for
                       Hire" (as that term is defined under U.S. copyright laws) for the' benefit of Client and all rights
                       therein shall reside in Client as author and copyright owner without reservations of any kind.

                  10.3. Participants hereby ~rant to Ca~pbell and its af~liates ~ limi~~d, non-exclusive, worldwide,
                       royalty-free, fully paid-up, subhcenseable (to Third Party V~ndors only, as necessary and
                       required), non-transferable, license during the term of this Agre1ement to use any Participant
                       intellectual property (including all trademarks relating exclusivi ly to the Program) necessary
                       for, and for the sole purpose of providing th~ Services heteunder, and each Participant
                       represents and warrants that it has the rights necessary to grant such license.

            11. Liability Insurance.      Campbell will, at Campbell's sole cost and expense, procure and maintain
                during the term of this Agreement and for a period of two (2) year~:following the termination or
                expiration of this Agreement the following minimum insurance cqyerage, written by insurance
                companies authorized to do business in the applicable jurisdiction(s) with a minimum financial rating
                of at least an "A-" or higher by the latest edition of A.M. Best or its eq{1ivalent, the policies for which
                will be primary and non-contributory:                                      J
                                                                                           I
                    a.   Commercial General Liability including liability coverage for .Premises Operations, Blanket
                         Contractual, Personal [njury and Advertising Injury and Prod:~cts/Completed Operations in
                         amounts not less than $2,000,000 per occurrence and $J0,000,q90 annual aggregate; and

                    b. Employers Liability and Workers' Compensation Insurance:
                       1. Employers Liabi Iity: in amounts not less than $1,000,000 per occurrence and $1,000,000
                          annual aggregate; and
                       2. Workers' Compensation: coverage as mandated by applicable state statutes.

                   c.     Automobile Liability in amounts not less than $1,000,000 per occurrence and $1,000,000
                         annual aggregate covering all owned, hired and non-owned aut61mobile equipment; and
                                                                                           I

                   d. Excess/Umbrella Liability Insurance in amounts not less than $i'O,OOO,OOO per occurrence and
                      $25,000,000 annual aggregate; and



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                  e.      Professional Liability Insurance in amounts not less than $2,000,000 per occurrence and
                         $2,000,000 annual aggregate.                                       I
              Any insurance policies which are written on a "claims-made" basis shkll be kept in force for not less
              than two years following termination or expiration of the Agreeµient. [Evidence of successive policy
              periods shall be made by the annual issuance of a certificate of insura'.1ke to Client. Alternatively, a
              copy of an "extended reporting period" endorsement, expiring no less than two years fol/owing
              completion of the work covered by this Agreement, shall be provided td Client.
                                                                                            :l
              Campbell waives, and will require all of its insurers to waive, all rights of recovery against Client
              and each Participant and their respective officers, directors, shareho,\ders, employees, consuitants,
              authorized agents and assigns, arising from any perils insured against in cpnnection with this
              Agreement, whether in contract, tort (including negligence and strict liability) or otherwise. Before
              the commencement of the Services hereunder, and when otherwise ri~sonably ~equested by Client,
              Campbell agrees to submit to Client a certificate of insurance ACO¥> Form 25-S .(1/95), or latest
              edition for each insurance policy obtained by Campbell as required bnder this Agreement. Client
              shall be provided with certified endorsements evidencing existence of th~ requirements contained above
              including an "extended reporting period" endorsement and p~imary and non-contributory
              endorsement. The certificate of insurance must be signed by a duly authorized officer or agent of the
              insurer. In addition, Campbell will provide Client with written notice !t least thirty (30) days prior to
              cancellation, non-renewal or material adverse change in such insurance. The standard certificate of
              insurance cancellation language shall be modified to comply with this r~quirement.            ·

              The obligations set forth in this Section
                                                   '
                                                        shall survive the termination or..
                                                                                        ~xpiration 6fthi~ Agreement.

           12. Standard of Performance.                                                    ·1
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              12.l. Campbell represents and warrants that it has the right to eritef jnto and perform under this
                       Agreement. Campbell represents and warrants that it will not ;!ake any actions on b_ehalf of
                       Client except as expressly authorized by Client in the Statement!pf Work, and that all Services
                       will be performed in conformance with all applicable laws, regu_lations and Jegally enforceable
                       rules governing the Services. Campbell will perform all -Servi¢es in acc_ordance with (i) the
                       requirements set forth in this Agreement, (ii) a high degrbe of care, skill, diligence,
                       professional knowledge, judgment and expertise according to g~nerally accepted professional
                       and industry standards, in '. a well-managed, organized, :and fimci~nt IJli\nner, .and (iii) in
                       material. conformance with the
                                                   .
                                                       description set forth in the Statement
                                                                                          ·1
                                                                                              of.Work.
                                                                                                 .
                                                    ;                                  '    :
              12.2. Each employee, contractor,      or agent assigned to perform the Sefivices her~under wiH have the
                       proper skills and training so as to be able to perform in a ,comp_etent and professional .ffiiinner
                       and will perform all work in material conformance with the(I1 description set forth in the
                       Statement of Work. Furthermore, Campbell, Campbell's .emplorees, contractors, and agents,
                       will adhere to appropriate standards of professional behl!vior \vh_ile performing services for
                       Client.                                                     _.   ;1

              12.3. Campbell may designate the personnel to perform services putkuant to this Agreement, and
                    shall promptly notify Client of all such personnel when design* ed. In addition, Client may
                    request that remedial action, including the removal of any of Catnpbell's personnel, be ta(en if
                    the conduct or performance of Campbell's personnel is not jin accordance with required
                    standards. Promptly, upon Client's request, Campbell will use 9iligent efforts to replace such
                    personnel with other personnel who possess the necessary skil)s, knowledge and training to
                    perform the services contemplated. Campbell shall periodically review the project timelines
                    and milestones and revise its staffing levels accordingly, subj ~ct to Client's prior approval,
                    before making any significant reduction in staff.                ·

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               12.4. Upon notice to Client of the affiliate(s) in question, Campbell "'ay consult with employees of
                      its affiliates who have expertise in the subject matter related to the Services and are subject to
                      the same confidentiality obligations that Campbell is subject to; however, Client may at any
                      time notify Campbell that no further consultations may take place. In that instance, Campbell
                      shall ensure that all Confidential Information is retrieved from the possession of employees of
                      its affiliates and create a firewall which will ensure that no further sharing of Confidential
                      Information occurs with such affiliates.                           ,,
                                                                                            ,,
               12.5. Pursuant to this Agreement, Campbell may obtain and deliver ,to Client information that )1as
                     been derived from a variety of sources, including but not limite~ to proprietary data services,
                     government information, industry publications, Client press relclpses and other Client content,
                     web sites, marketing materials and other generally available public sources. All information,
                     statements, facts, analyses, interpretations and opinions contain~d in Campbell's deliverables
                     and based on the foregoing are provided without representation or warranty by Campbell, jts
                      affiliates, officers, employees, contractors or business partners os to accuracy, complcjcpess,
                      usefulness or otherwise. Nothing herein is intended to negate Campbell's standard of
                      performance obi igations under this Section 12.

               12.6. THE EXPRESS WARRANTIES SET FORTH IN THIS AGREEMENT ARE CAMPBELL'S
                     SOLE AND EXCLUSIVE WARRANTJES PROVIDED CONCERNING THE SERVICES
                     AND ANY DELIVERABLES, AND CAMPBELL DISCLAIMS ALL · OTHER
                     WARRANTIES AND REPRESENTATIONS, EXPRESS OR IMPLIED, INCLUDING BUT
                     NOT LIMITED TO ANY WARRANTJES OF FITNESS FOR A PARTICULAR PURPOSE,
                     MERCHANTABILITY, OR OTHERWISE.

               12.7. Each Participant represents, warrants and covenants as follows: ~a) all information provided to
                     Campbell in connection with the Services shall be accurate and complete in all material
                     respects, and not misleading whether by omission or otherwise; (b) all of its activities i11
                     connection with this Agreement will be conducted· in accordance ~ ith all applicable law.s, rµ(es
                                                                                    its
                     and regulations; (c) this Agreement is executed for it by duly:authorlzed represent~tive _and
                     is binding on it in accordance with the terms of this Agreement; (d) it has the right to enter into
                     and perform under this Agreement and (e) it has no obligations;fontractual or otherwise, that
                     would conflict with or prevent it from complying with .the terms 9fthis Agreement.

           13. Indemnification ano Liability.                                                I
                                                                                            ,!
               13.1. Campbell will indemnify, defend and hold harmless each Participaht and their respective owners,
                     officers, directors, agents, employees, representatives (collectively, j "Client lndemnitees") against
                     any third party liability, damage, loss or expense of any kind (inch.i~ing reasonable attorney's fees
                     and expenses of litigation) incurred by or imposed upon C!i"ent Jridemnitees to the extent ru'ising
                     from (a) an allegation that the Services or any Campbell Property ihfringes any right protected by
                     any patent, copyright, trademark, trade secret, or other intellectual P.foperty right ofany thin;l_party;
                     (b) any willful misconduct or negligent act or omission of Campb~II, its agents, directors, officers
                     or employees; (c) any material breach of this Agreement by q ~npbell, its agents, directors,
                     officers or employees; or (d) any failure of Campbell to comply with all relevant laws, regulations
                     and legally enforceable rules governing the Services. For purposes of this Section 13.1, "third
                     party" means any party other than Campbell and the Participants.

              13.2. Each Participant will indemnify, defend and hold harmless C.i/npbell, its owners, directors,
                    agents, employees, representatives, and subcontractors (collecti~ely "Campbell Indemnitees")
                    against any third party liability, damage, loss or expenses of any kind (including reasonable
                    attorney's fees and expenses of litigation) incurred by or iri)posed upon such Campbell
                    Indemnitees to the extent arising from : (i) any willful misconduct pr negligent act or omission of
                    such Participant, its agents, directors, officers or employees, (ii) any material breach of this
                                                                                                                            8




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                                                                                           ,·
                       Agreement by such Participant, its agents, directors, officers: or employees, and (iii) any
                       product liability claims relating to such Participant' s products, whether arising out of warranty,
                       negligence, strict liability (including manufacturing, design, wa'rning or instruction claims) or
                       any content-based claim or other product-based statutory claim except to the extent any such
                       claim arises as a result of the willful misconduct or grossly 11negligent act or omission of
                       Campbell.
                                                                                           '
                       Each Participant will, to the extent of its respective applicable sh~re (except as set forth below),
                       indemnify, defend and hold harmless Campbell lndemnitees agaipst any liability, damage, loss,
                       fines, penalties or expenses (including, without limitation, r~ onable attorney's fees and
                       expenses of litigation incurred by or imposed upon such Cam~bell Jndem!')itees to the extent
                       arising from any third party (including, without limitationJl governmental .agencies and
                       lawmaking bodies) claims, suits, actions and/or demands arising out of this Agreement or
                       Campbell's performance of the Services (collectively "Claims," ~nd eac~, a "Claim") except to
                       the extent any such Claim (i) is subject to Campbell's indemnification obligations ,set forth in
                       Section 13.1 above, or (ii) arises as a result of the willful nilsconduct · or negligent iict or
                       omission of Campbell. To the extent Campbell is aware that a :Claim results from the actions
                       of one or more specific Participants, then Campbell will seek ind~mnification solely from such
                       Participant(s), This indemnity shall not apply to any expMnses incurred by Campbell
                       lndemnitees in connection with responding to subpoenas or ;bther .similar Jegal orders or
                       requests for information not arising out of a Claim as defined herein.
                                                                                          !I
               13.3. If the Services or Campbell Property is held to infringe per subsection 13.1 (a) above,
                     Campbell shall have the option, at its expense, to take one or n~;ore of the followin~ rem~9ial
                     steps: (i) procure for Client the right to contin_ue use ,o f tpe·j ser~ice or qeliver~ble at ·np
                     additional cost to Client; (ii) replace the service or deliverable' Ith a non-infringing service or
                     deliverable; (iii) modify the service or deliverable so that it beco;hes no11~infripging; or (iv) if it
                     is not commercially reasonable to perform any of the foregoing 9ptions, refund to .Client .a pro-
                     rated portion of the applicable fees paid by Client for the servic~1o_r deliverabfe. Sections 13.l
                     and 13.3 state Campbell's entire liability and Client's exclus1ive remedy (or any claim o_f
                     infringement.                                                  ,     ;I ·
               13.4. A party's agreement to defend and indemnify anothe~ par~ as set .forth 'herein ?hove
                     ("Indemnified Party") is conditioned upon the Indemnified Party ' (a) p_roviding prompt wr_itten
                     notice to the first party (the "Indemnifying Party") of any ,claim~1 demand or action ar.ising out
                     of the indemnified activities after the Indemnified Party has knowledge of sue~ yh.i.i.n:i, de~and
                     or action; (b) permitting the Indemnifying Party to assume full ~esponsibility and .authority to
                     investigate, prepare for and defend against any such claim 'or .demand; (c) as~isting the
                     Indemnifying Party, at the indemnifying Party's reasonable ~xpense, in the investigation of,
                     preparation for and defense ofany such claim or demand; and.(d?, not compromising or settling
                     such claim or demand without the Indemnifying Party's writieri' consent, which consent shall
                     not be unreasonably withheld. An Indemnified Party may, at it~ cost and expense, hire legal
                     counsel of its choice to participate in an advisory capacity i ' discussions, negotiations, or
                     proceedings of the claim.                                         1l

               13.5.    [Intentionally Omitted]
                                                                                          !I
               13.6. Except for its indemnification obligations and its obligations ilof confidentiality under this
                     Agreement, Campbell's aggregate and cumulative liability to l ch Participant and each such
                     Participant's aggregate and cumulative liability to Campbell fot damages of whatever nature
                     arising hereunder shall not exceed three times the amount of ' ixed Fees and approved and
                     reasonable travel, lodging and other out-of-pocket project- related expenses paid or payable to
                     Campbell by such Participant under this Agreement. for ~urposes of this Section 13.6
                     expenses shall not include any service provider or Vendor fees that will be billed as expenses
                                                                                          It                             9




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                      on a "pass-through" basis. In no event shall a party be liaile     1
                                                                                             for consequential, special,
                      incidental or punitive loss, damage or expenses (including but not limited to lost profits,
                      savings, data, or the cost of recreating lost data), even if it has been advised of their JX)Ssible
                      existence.

            14. Publications. Campbell shall not use any Client Property for teaching, research, education, clinical
                or publication purposes without the prior written consent of Client. The obligations of this Section
                will survive the termination or expiration of this Agreement.  :      1  1
            15. Adverse Event Reporting.      During the term of this Agreement, caJ !pbell agrees to report to each
                Participant within twenty-four (24) hours of receiving notice, any A'dverse Event (any unintended
                medical or physical condition that is evidenced during the use of ia Participant product) or any
                complaint about a Participant's product that comes to Campbell's attention.
                                                                                      ,,                   ·

            16. Notices.     All legal notices or demands provided for by this Agree~l nt wi!J be .in wri.ting and will
                be deemed to have been given when delivered by certified mail, r~turn receipt requested, or by
                overnight courier. All such communications should be addres~ed ,td'the address of the respective
                party stated under their signature and to the attention of such party's"9f
                                                                                        neral Couns~l".

            17. Assignment. Campbell may not assign this Agreement or its obligations hereunder in whole or in
                part without Client's prior written consent. No assignment will teliev~ a party of the performance of
                any accrued obligation that such party may have under this Agreement.!;

            18. Independent Contractor/Vendors. Campbell is and will be treated aslr.n independent contractor and
                 not an agent, . employee, joint. venturer or partner o~ Client. ca0pbell wj[[ tjot en~er into any
                agreements with a Vendor (as defined below) or subcontract the Servic~f or any part thereof without a
                Subcomittee Respresentative's prior written approval. If Campb~ll entrs ipto an agreement ('Third
                 Party Agreements") with a Vendor (as defined below) as part '.o f thi Servi~es, then .Client hereby
                authorizes Campbell to execute such Third Party Agreements for Client {lSjts representative. Client
                shall have the right to approve all Third Party Agreements prior to exei vtiori as set foith in $e~tion 18
                hereof, such approval shall not be unreasonably withheld or delayed, Cpmpbell shall .have no.liability
                for the acts or omissions of Vendors or for the perform~nce by .Vend~rs .of Third Party A,greements
                (provided that any such Third Party Agreement expressly designates qle~t anc,l/c;>r each·Pariicipa.nt as
                third-party beneficiaries under such agreement with a right of dir~ t.. action against the .rel.evant
                Vendor), except to the extent there is a failure of a Vendor to perfor111;that. is caused ~y Campbell's
                negligence or willful misconduct. For the purposes of this Agreemen11r ve!1dor" meahs a third party
                engaged by Campbell to perform a task contemplated under the Statement of Work to be performed
                by a third party. Client shall complete its initial review of any T~ird party Agreement bet~~en
                Campbell and a Vendor within ten (10) business days after receivi,ng such Third Party _Agreement
                from Campbell and any subsequent reviews, if required, within five \S) business days after receipt.
                Any revisions to such Third Party Vendor Agreements made by Cliertt which increase Third Party
                                                                                          1
                Vendor expenses and/or cause Campbell to incur extraordinary outside legal fees and expenses shall
                be negotiated in good faith between Campbell and Client as to the ~mount that•will be reimbursable
                by Client. In the event that Client does not approve the selection of a Vendor or the terms of a Third
                Party Vendor Agreement in a reasonably timely manner, Campbell shall nof be deemed in breach of
                its obligations hereunder. Campbell will pay, when due, salariesi1 wages and other forms of
                compensation or reimbursement and all applicable federal, state and local withhoiding taxes and
                unemployment taxes, as well as social security, state disability insurance and all other payroll charges
                payable to, or on behalf of, Campbell's personnel working under this ;\kreement. No federal, state or
                local income or withholding taxes, no social security, state disability ii;isurance, unemployment taxes
               or workers' compensation, life, casualty, or disability insurance, or health, retirement or any other
               employment benefits will be paid by Client to or for the benefit of Campbell or Campbell's employees,


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               and Campbell waives any right to such benefits. Pass through costs for ~pproved Vendors shall te paid
               by Client without any additional fees added to such costs by Campbell. 1;
                                                                                  .        ,I
            19. Applicable Law. This Agreement will in all respects be governed 'by, interpreted, construed and
                enforced in accordance with the laws of the State of New York appli&tble to contracts executed and
                to be fully performed therein. Except for actions seeking inji.mctiv~ relief init_iated by a party to
                protect its Confidential Information which may be brought in ahy co~l-tof competent jurisdiction in
                the continental U.S., the parties agree that any action or proceeding f~ising out of or in connection
                with this Agreement will be in a federal or state court of approprl~te venue and subject matter
                jurisdiction located in the State ofNew York. Each party hereto irrev9cably consents to the personal
                jurisdiction of the courts in the State of New York.             .         ii
           20. Entire Agreement. This Agreement, together with appendices, ~ttachmepts and/or exhibits,
               constitutes the entire agreement between the parties with respect t~Ithe subject matter contained
                                                                                           a
               herein, and this Agreement supersedes all prior understandings ·and 1greements between Campbell
               and all of the Participants with respect to the subject matter coqtained he~ein. This Agreement and
               the rights and obligations hereunder may not be modified, amended or t aiv~d, whether in whole or in
               part, except by a writing signed by both parties. The term·$ of t~is Agreement sh~II ptevail,
               notwithstanding any variance with any purchase order or other written instrument submitted by any
               party, whether or not formally rejected by the receiving party.        ll

           21. Waiver.     No waiver of any term, provision or condition of this Agr~em;nt whether by conduct.or
               otherwise in any one or more instances will be deemed to be or :constr'~~d flS a further or C9ntinuing
               waiver of any such term, provision or condition, or of any other term,. provision .or condition of this
               Agreement.                                                     .1 , I

                                                                                      \r
           22. Invalidity. The terms of this Agreement will be severable so that ~ny t~rm, clause, o_r provision
               hereof is deemed invalid or unenforceable for any reason, such invalidity ·or u!')enforceability -will not

               effect to the maximum allowable ex.tent under applicable law. .
                                                                                     H
                                                                                           I:
               affect the remaining terms, claus~s and provisions hereof, which will continue with full force and
                                                                 •                          .




           23. l!se of Name. Un~e~ no ci~cumstances ~ay an~ party use .th~ name o 1af!other party for pro1notional
               ltterature or advertising without the pnor wntten permission . and itpproval of the ~ther party.
               Notwithstanding the foregoing, in the event that a party is required to uie the name of another   partr
                                                                                                                i_li
               submissions to regulatory authorities, no prior consent for such use wil~be npcessary.
                                                                                           1

           24. Debarment.       Campbell represents that neither it, nor its o~bers,: :emp{oy~es, agents or
               subcontractors are currently, or have ever been (i) debarred under S~ction 306(a) or 3.0.6(b) .of the
               United States Federal Food, Drug and Cosmetic Act, as may b_e amended and supplemented from
               time to time; (ii) charged with, or convicted of, any felony or misdeTeanor within the ambit of 42
               U.S.C. §§ 1320a-7(a), 1320a-7(b)(l)-(3), or proposed for exclusion or (iii) exclucled, suspended or
               debarred from participation, or otrerwise ineligible to participate, in any U.S. Federal .o r State health
               care programs (including convicted of a criminal offense that falls Within the sc,;,pe of 42 U.S.C.
               §1320a-7 but not yet excluded, debarred, suspended, or otherwise de<;jared ineligible), or excluded,
               suspended or debarred from participation, or otherwise ineligible to p~ ticipate, in any U.S. Federal
               procurement or non procurement programs. Notwithstanding any provision in this Agreement to the
               contrary, Client may immediately terminate this Agreement if Ca1mpbell violates this Section.
               Campbell will notify Client immediately, but in no event lat~t tha~ five (5) business day,s, after
               knowledge of any such exclusion, debarment, suspension or otherwise ineligibility occurring during
               the term of this Agreement, or if any action or investigation is pe~ding.   !    .

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CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                ALLERGAN_MDL_02189120
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            25. Force Majeure. No party will be liable for any delay or fail_ure to . perform as required by this
                Agreement to the extent that such delay or failure to perform is cause~ by circumstances reasonably
                beyond such party's control, such as labor disputes, accidents, any ad1 law, order or requirement of
                any governmental agency or authority, civil disorders or commotions, acts of aggression, fire or other
                casualty, strikes, acts of God, explosions, or material shortages. Perfo)Jhance time will be considered
                extended for a period of time equivalent to the time lost because of any such delay or failure to
                perform; however, in any event, the extension of time will not exceed ~ixty (60) days (at which point
                either party may terminate the Agreement), unless the parties otherwise agree in writing.
                                                                                          'I
            26. Non-Exclusivity.      Campbell maintains the right, during or after the t,erm of thi~ Agreement and at
                Campbell's sole discretion, to render similar services to other companies, so long as doing so does not
                create a conflict of interest with third parties and so long as Campbell does not ~reach its obligations
                under this Agreement, including without limitation those set forth in S~6tion 8 on Confidentiality.

           27. Headings/Counterparts.      The headings contained in this Agree,Uent ·ar.e for convenien~e of
               reference only and are not intended to have any substantive si~ ificance ii) interpreting this.
               Agreement. This Agreement may be executed in any number of counterparts, and each such
               counterpart hereof will be deemed to be an original and all such count~rparts together will constitute
               one agreement.                                                        1
                                                                                      1
                                                                                         ,
           28. Equal Employment Opportunity.        Campbell represents that Campbell is in compliance with all
               applicable laws, regulations, and orders with respect to equal employn)ent opportunity and either has
               provided or will provide to Client the legally required certifications rr.n~ represent~tion.s regarding
               equal employment opportunity that Client may require under such __laws;,regulations, and ord~rs.

           29. Behavior of campbell 's employees·~nd Independent Co~tractors. · .       :l 10 · perforll!ing . ~ervices
               under this Agreement, Campbell, Campbell's employe,es and indepeijdent contractors will: (i) not
               commit any act of sexual harassment nor discriminate· on the basis of .s~x, n~ce, .religion, national
               origin, disability, marital status, Veteran's status and age and any cithe' status ·protycted .by iaw; and
               (ii) conduct themselves ethically and professionally.                    I     ·

           30. Requisites to Providing Service.       At the request of Client, prior to aJd/or during the performan~e of
               any services, Campbell will: (i) provide Client with any required busin~ s or tax information -related to
               services performed under the Statement of Work; and (ii) cause Campbell's personnel to comply with ;ill .
               reasonable requirements specified by Client, including wit,hout limitationil submittirig to a drug,sc~en ip
               the event that Client has a reasonable belief of drug use, and a backgroun9 check.
                                                                                             1
           3 I. Compatibility with Software. All documentation generated by Cam~bell under this Agreement for
                Client's use will be in MS Office 2007 or as otherwise specified in.the i tatem~nt of Work.

           32. Non-Solicitation. Campbell and each Participant agree that each w1l1 not, during the term of the
               Agreement and for a period of twelve (12) months after the date of tbrmination of this Agreement,
               without the prior written consent of the other party, knowingly ~~licit or induce any officer,
               employee, agent or contractor of such other party with whom it had dealings 'in the course of
               providing the Services, to terminate their employment or engagemenf with such other party or to
               otherwise hire such individ~~I in any capacity. The solicitation prohibjfio~ of the preceding s~ntence
               shall not apply to or proh1b1t: (a) general newspaper or lntern~t ad~ert1sements and matenals not
               directly targeted at such persons, or (b) solicitations of any employe~1 who has been terminated by
               either party or its affiliates prior to commencement of employment ~iscussions
                                                                                      I
                                                                                                   between the other
               party and such employee.                                               1

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CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                ALLERGAN_MDL_02189121
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           AGREED AND ACCEPTED as of the Effective Date set forth above.


           CAMPBELL ALLIANCE, LTD.
           By:     lt/al"ifl( /}. k/;ltAA,0,t                      Address for notice:

           Name:     Marilyn D. Williams                           8045 Arco Corporatd Drive, Suite 200
                                                                   Raleigh, NC27617 ,
           Title: _D_ire_c_t_o_r,_C_o_n_t_ra_c_ts
                                               __--,-__            Attention: Confracts ,




                                                [Participants' signatures to follow]




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CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                            ALLERGAN_MOL_02189122
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                                               -       Address.for notice:
                                                        400 Interpace Parkway
                                                        Parsippany, NJ 07054
                                                       .Attn: ChiefLegal Officer
                                                       USlegal@actavis.com
           Title:    ~r V\0 ~ R-e,s ,-'brand (2, D
                                    J
                                                   4   Fax: (862)261-7922


           Date:      Fe.bruor\f 19         aoiY
                                '       I


           ROXANE LABORATORIES, INC.

           By:                                         Address for notice:
                 - ------------
           Name:
                     ------------
           Title:

           Date:


           ENDO PHARMACEUTICALS INC.

           By:                                         Address for notice:
                 - - - - - - - - - - -- -              100 Endo Boulevard
           Name:                                       Chadds Ford, Pennsylvania 19317
                     ------------
           Title:

           Date:
                    - -- - - - - -- - - - -
           JANSSEN PHARMACEUTICALS, INC.
                                                       Address for notice:
           By:
                 - - - - - - - - -- - - -              1125 Trenton-Harbourton Road
                                                       Titusville, NJ 08650
           Name:                                       Attn: VP, Law
                     ------------
           Title:

           Date:




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CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                            ALLERGAN_MOL_02189123
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            ACTAVIS, lNC.

                                                                  Address for notice:
            By: --·----·-······ · · · - · - - · - - - - - - - -
                                                                  400 Interpace Parkway
                                                                  Pnrsippany, NJ 07054
            Name:                                                 Attn: Chief Legal Officer
                      - - - - -- - - - - - -                      US1cgal@actavis.com
            Title:                                                Fax: (862)26 t- 7922

            Date:


            ROXA~ELAilORATORIES, INC.

            By: , ~ J / S:u ~                                     Ad dt·ess fo1· notice:

            Nume: /Lan c;/a I/ ~ (,J ;l<o,_,,                     j 'foq w        i \   ~"t\   \/4-DCAR,
            Title:     (3   /l1                                   Co\vY'f\bvS . O~ L\31-2-~
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            Dote:     ~~!Lf
            ENDO PHAl<MACEUTICALS l NC.

            Dy:                                                   Addr ess fol' notice:
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            Nnm e:                                                Chadds Ford, Pennsylvania I C)3 I 7
                      - - - -- - - - -- --
            Title :

            DHfo:
                      ------ ------
            JANSSgN PHARMACIWTJCALS> INC.
                                                                  Address for notice:
            By: - - - - - - - - -- - - -
                                                                  1125 Trenlon-Harbourton Road
                                                                  Titusville, NJ 08650
            Nnme:                                                 Attn: VP, Law
                      - - - - - - - -- - --
            Title:

            Date:




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CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                 ALLERGAN_MOL_02189124
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          ACTAVJS, INC.

          By:                                                    Add ress for notice:
                                                                 400 Interpace Parkway
                                                                 Parsippany, NJ 07054
          Name;                                                  Attn: C hief Legal Officer
                                                                 JJSlegal@actavjs.com
          Title:                                                 Fax: (862)26 1-7922

          Date:


          ROXANE LABORATORIES, JNC.

          By: - - - - - - - - - - - - - -                        Address for notice:

          Name:

          Title:

          Date:


          ENDO PHARMACEUTICALS INC.


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          By:_
                          1
                    - :.-,.
                                                                 Address for notice:
                - - -- - - - - -- -- - -                         1400 Atwater Drive
          Name: [van Gergel, MD                                  Malvern, Pennsylvania 19355

          Title:         EVP, R&D and Chief Scientific Officer

          Date;          February 20, 20 14


          JANSSEN PHARMACEUTICALS, INC.
                                                                 Add ress for notice:
          By:
                - - -- - -- - - -- -- -                          1125 T renton-Harbourlon Road
                                                                 Titusville, NJ 08650
          Name:                                                  Attn: VP, Law


          Title:

          Date:


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CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                       ALLERGAN_MOL_02189125
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          ACTAVIS, INC.

          By:                                                                                  Address for notice:
                - - - - - - - - - - - - -- - -
                                                                                               400 Interpace Parkway
                                                                                               Parsippany, NJ 07054
          Name:                                                                                Attn: Chief Legal Officer
                                                                                               USlegal@actavis.com
          T itle:                                                                              Fax: (862)26 I -7922

          Date:


          ROXANE LABORATORIES, INC.

          By:                                                                                  Address for notice:
                ----------------
          Name:

          Title:

          Date:


         . ENDO PHARMACEUTICALS INC.

          By:                                                                                  Address for notice:
                - - - -- - - - - - - - - - - -
                                                                                               100 Endo Boulevard
          Name:                                                                                Chadds Ford , Pennsylvania 19 3 l 7

          Title:

          Date:
                    -------------- -
          JANSSEN PHARMACEUTICALS, INC.
                                                                                               Address for notice:
          By: - - - - - - - - - - - - -- - -
                                                                                               1125 Trenton-Harbou11on Road
                                                                                           Titusville, NJ 08650
          Name:                                               OtgitallystgnedbyMILA        Attn:    VP, Law
                      -=-=-=-----=---- - - -                  El'ROP0LSla
                   M ILA                                      ON: c=US, o=JNJ, ou=Employees,
          Title:    ..,.-,-,....,...,-.--c-,-......--,..--,   OU=340252, cn=M.ILA ~OPOLSKI,


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CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                     ALLERGAN_MOL_02189126
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           PFIZER INC.
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           By: - - - - - - -- - - -                             Address for notice:
                                                               235 East 42nd ST.
                                                               New York, NY 10017
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CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                     ALLERGAN_MOL_02189127
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           MALLINCKRODT PHARMACEUTICALS

           By:                                   Address for notice:
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           PFIZER INC.

           By:      {b r/ · ~ I .-
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                                                 235 East 42nd ST.
                                                 New York, NY 10017




          PURDUE PHARMA L.P.

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CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                               ALLERGAN_MOL_02189128
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            MALLINCKRODT PHARMACEUTICALS
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            Name:         Todd F. Bau gartrier, M.D., M.P.H.       1-DI TR (; s~ -G" R ~L\fb.
                          Vlce President, Regulatory Affairs       ~ -r/l M.FoRb,          c I Ob9o \
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CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                         ALLERGAN_MDL_02189129
      Case: 1:17-md-02804-DAP Doc #: 2079-10 Filed: 07/30/19 22 of 24. PageID #: 286592




         MALLINCKRODT PHARMACEUTICALS

         By:                                       Address for notice:
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         Name:

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         Date:

         PFIZER INC.

         By:                                       Address for notice:
               ------------                        235 East 42nd ST.
                                                   New York. NY 10017
         Name:

         Title:

         Date:


         PURDUE PHARMA L.P.

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                                                           Exhibit A             ,       1
                                      NEW PARTICIPANT CONFIRMATION FO~

           We, the undersigned, hereby agree to abide by the terms of that certa\11 PM~ Project Mal);1gement
           Agreement (the "Agreement"), entered into by and between Campbel! Alli~nce Group, Inc. a.nd the
           Participants (each individually, a "Participant"), thereby becoming a Participant to the Agreement for all
           inten1s and purposes, asofthe _ _ day of _ _ _ _ _ _ _, 20_.:._.              ·
                                                                                     :



           (INSERT NAME OF NEW PARTICIPANT]


           By: _ _ __ _ _ _ _ _ __

           Name:
                    -----------
           Title:
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CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                              ALLERGAN_MOL_02189132
